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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT




 VENGROFF INVESTMENTS, LP,

                 Plaintiff                               MOTION FOR ORDER
                                                             APPOINING
                 - versus -                            SUBSTITUTE CUSTODIAN

 Motor Yacht KAMELOT, Official Number                        20 Civ. 1815 (RNC)
 528568, her engines, boilers, machinery,
 anchors, gear, equipment, and all other
 appurtenances, in rem

                 Defendant



         Plaintiff, by its attorneys, Lennon, Murphy & Phillips LLC respectfully moves for an Order

appointing Bridgeport Boatworks of Bridgeport, Connecticut as Substitute Custodian as follows:

         1. It is contemplated that the United States Marshal will seize the Defendant vessel

forthwith pursuant to a Warrant of Arrest to be issued by Order of this Court and issued by the

Clerk.

         2. The proposed Substitute Custodian has the ability and facilities and/or access to

resources to provide all services required for the preservation, storage and safekeeping of the

Motor Yacht KAMELOT, official number 528568, in rem.

         3. In consideration of the Marshal's consent to the substitution of custody, Plaintiff will

agree to release the United States and the Marshal from any and all liability and responsibility

arising out of the care and custody of the said vessel. As shown in the attached affidavit of Harry

Boardsen on behalf of Bridgeport Boatworks, the proposed Substitute Custodian agrees to hold

harmless and indemnify the United States and the United States Marshal's Service from any and
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all claims whatsoever arising out of the Substitute Custodian's negligence in possession and

safekeeping.

       Respectfully submitted this 8th day of December, 2020.



                                           LENNON, MURPHY & PHILLIPS LLC
                                           Attorneys for Vengroff Investments, LP


                                           By:
                                                 ________________________
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   Declaration of the Proposed
      Substitute Custodian
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